                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

BRAD AMOS,                                     ]
                                               ]
                 Plaintiff,                    ]
                                               ]
vs.                                            ]     Case No: 3:21-CV-00923
                                               ]
THE LAMPO GROUP, LLC, d/b/a                    ]
RAMSEY SOLUTIONS; DAVE                         ]
RAMSEY                                         ]
         Defendants.                           ]
                                               ]


                                NOTICE OF FILING EXHIBITS


         Come now the Plaintiff, Brad Amos, by and through counsel, and hereby give notice as to

the filing of the following exhibits to their Response in Opposition to Defendant Ramsey’s

Second Motion to Dismiss:

      1. Exhibit A- Maize v. Friendship Cmty. Church, Inc., No. E201900183COAR3CV, 2020

             WL 6130918, at *11 (Tenn. Ct. App. Oct. 19, 2020), appeal denied (Mar. 17, 2021)

      2. Exhibit B – Robinson v. Wilson Cty. Sch., No. 3:19-CV-01092, 2020 WL 12932419, at *3

         (M.D. Tenn. Jan. 10, 2020)

      3. Exhibit C – Affidavit of Jonathan Street




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                                   Respectfully Submitted,

                                   THE EMPLOYMENT AND CONSUMER LAW
                                   GROUP

                                   /s/ Jonathan Street
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the above and foregoing was served
via the Court’s CM/ECF System this 6th day of April, 2022 to the following:

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                                                 /S/ Jonathan Street
                                                 Jonathan Street




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